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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF NEW YORK

 MOMODOU TAAL, MŨKOMA WA NGŨGĨ,
 and SRIRAM PARASURAMA,

                       Plaintiffs,
        v.                                                            3:25-cv-335
                                                                       3:25-cv-33 (ECC/ML)
                                                     Civil Action No. __________

 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S.
 DEPARTMENT OF HOMELAND SECURITY;
 and KRISTI NOEM, in her official capacity as
 Secretary of the U.S. Department of Homeland
 Security;

                       Defendants.


   PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AND TEMPORARY
                        RESTRAINING ORDER

       Pursuant to Fed. R. Civ. P. 65(a), Plaintiffs Momodou Taal, Mũkoma Wa Ngũgĩ, and

Sriram Parasurama move for a temporary restraining order and/or preliminary injunction against

Defendants Donald Trump, the United States Department of Homeland Security (“DHS”), and

DHS Secretary Kristi Noem.

       This action seeks to enjoin Defendants from enforcing parts of two executive orders –

Executive Order 14161, “Protecting the United States from Foreign Terrorists and Other National

Security and Public Safety Threats,” 90 Fed. Reg. 8451 (Jan. 30, 2025), (“EO 1”), and Executive

Order 14188, “Additional Measures to Combat Anti-Semitism,” 90 Fed. Reg. 8847 (Feb. 3, 2025),

(“EO 2”). The unprecedented and sweeping character of each order, combined with the threat of

imminent enforcement, has unconstitutionally prohibited Plaintiffs, a group of students and

professors at Cornell University, from speaking or hearing views critical of the U.S. government




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or the government of Israel, on penalty of criminal prosecution or deportation. The First and Fifth

Amendments to the U.S. Constitution require the orders be partly enjoined.

       This motion is based on the complaint on file in this action, this motion, the accompanying

brief, any further briefings and oral arguments of counsel, and such other and further matters as

may be presented to the Court.

       Absent the issuance of a temporary restraining order or preliminary injunction, Plaintiffs

will suffer irreparable injury because their First Amendment rights to speech and association will

have been violated. The balance of equities tips in favor of Plaintiffs, and the reasonable,

unintrusive relief they seek will serve the public interest by protecting the First Amendment.

       Local Rule 65.1 requires Plaintiffs to serve an application for a Temporary Restraining

Order on all other Parties unless permitted by Fed. R. Civ. P. 65. Pursuant to Fed. R. Civ. P. 65,

attached as Exhibits to this motion are affidavits from Plaintiffs demonstrating the immediate and

irreparable harm they will experience before Defendants can be heard in opposition. Because this

motion was filed shortly after Plaintiffs filed this complaint, no attorney for Defendants has entered

an appearance that would facilitate notice.

 Dated: March 15, 2025                              Respectfully submitted,

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